Case No. 1:24-cv-02866-NYW-NRN               Document 1     filed 10/16/24     USDC Colorado           pg
                                                1 of 15




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  CAROLYN BALDWIN,                                              )
                                                                )
                                Plaintiff,                      )
                                                                )     CIVIL ACTION
  vs.                                                           )
                                                                )     Case No. 1:24-CV-02866
  MONOGHAN FARMS, INC.,                                         )
                                                                )
                                Defendant.                      )


                                              COMPLAINT

         COMES NOW, CAROLYN BALDWIN, by and through the undersigned counsel, and

  files this, her Complaint against Defendant, MONOGHAN FARMS, INC., pursuant to the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

  Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

  respectfully shows this Court as follows:

                                             JURISDICTION

         1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

  and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

  MONOGHAN FARMS, INC., failure to remove physical barriers to access and violations of

  Title III of the ADA.

                                               PARTIES

         2.      Plaintiff CAROLYN BALDWIN (hereinafter “Plaintiff”) is and has been at all

  times relevant to the instant matter, a natural person residing in Littleton, CO (Douglas County).

         3.      Plaintiff is disabled as defined by the ADA.




                                                  1
Case No. 1:24-cv-02866-NYW-NRN               Document 1       filed 10/16/24    USDC Colorado             pg
                                                2 of 15




          4.       Plaintiff is required to traverse in a wheelchair and is substantially limited in

  performing one or more major life activities, including but not limited to: walking, standing,

  grabbing, grasping and/or pinching.

          5.       Plaintiff uses a wheelchair for mobility purposes.

          6.       In addition to being a customer of the public accommodation on the Property,

  Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

  is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

  ensuring whether places of public accommodation are in compliance with the ADA. Her

  motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

  Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

  necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

  access identified in this Complaint are removed in order to strengthen the already existing

  standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

  numerous ADA violations on this property. (“Advocacy Purposes”).

          7.       Defendant, MONOGHAN FARMS, INC., (hereinafter “MONOGHAN FARMS,

  INC.”) is a domestic company that transacts business in the State of Colorado and within this

  judicial district.

          8.       Defendant, MONOGHAN FARMS, INC., may be properly served with process

  via its Registered Agent for service, to wit: c/o Thomas C. Deline, Registered Agent, 7950 East

  Prentice Avenue, Suite 101, Greenwood Village, CO 80111.

                                     FACTUAL ALLEGATIONS

          9.       On or about October 8, 2024, Plaintiff was a customer at “Nothing Bundt Cakes,”

  a bakery/cake shop located at 7508 E. Parkway Drive, Lone Tree, CO 80124, referenced herein



                                                    2
Case No. 1:24-cv-02866-NYW-NRN              Document 1       filed 10/16/24     USDC Colorado             pg
                                               3 of 15




  as “Nothing Bundt Cakes”. See Receipt attached as Exhibit 1. See also photo of Plaintiff

  attached as Exhibit 2.

         10.     Defendant, MONOGHAN FARMS, INC., is the owner or co-owner of the real

  property and improvements that Nothing Bundt Cakes is situated upon and that is the subject of

  this action, referenced herein as the “Property.”

         11.     Defendant, MONOGHAN FARMS, INC., is responsible for complying with the

  ADA for both the exterior portions and interior portions of the Property. Even if there is a lease

  between Defendant, MONOGHAN FARMS, INC., and a tenant allocating responsibilities for

  ADA compliance within the unit the tenant operates, that lease is only between the property

  owner and the tenant and does not abrogate the Defendant’s requirement to comply with the

  ADA for the entire Property it owns, including the interior portions of the Property which are

  public accommodations. See 28 CFR § 36.201(b).

         12.     Plaintiff’s access to Nothing Bundt Cakes and the other businesses, located at

  7508 E. Parkway Drive, Lone Tree, CO 80124, Douglas County Property Appraiser’s property

  identification number: 2231-042-10-008 (“the Property”), and/or full and equal enjoyment of the

  goods, services, foods, drinks, facilities, privileges, advantages and/or accommodations offered

  therein were denied and/or limited because of her disabilities, and she will be denied and/or

  limited in the future unless and until Defendant is compelled to remove the physical barriers to

  access and correct the ADA violations that exist at the Property, including those set forth in this

  Complaint.

         13.     Plaintiff lives less than 2 miles from the Property.

         14.     Given the close vicinity of the Property to the Plaintiff’s residence, Plaintiff often

  travels by the Property.



                                                      3
Case No. 1:24-cv-02866-NYW-NRN               Document 1       filed 10/16/24      USDC Colorado             pg
                                                4 of 15




         15.     Plaintiff has visited the Property four times before as a customer and advocate for

  the disabled. Plaintiff intends to revisit the Property within six months after the barriers to

  access detailed in this Complaint are removed and the Property is accessible again. The purpose

  of the revisit is to be a return customer to Nothing Bundt Cakes, to determine if and when the

  Property is made accessible and to substantiate already existing standing for this lawsuit for

  Advocacy Purposes.

         16.     Plaintiff intends on revisiting the Property to purchase food and/or services as a

  return customer as well as for Advocacy Purposes but does not intend to re-expose herself to the

  ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

  known to Plaintiff to have numerous and continuing barriers to access.

         17.     Plaintiff travelled to the Property as a customer four times before as a customer,

  personally encountered many barriers to access the Property that are detailed in this Complaint,

  engaged many barriers, suffered legal harm and legal injury, and will continue to suffer such

  harm and injury if all the illegal barriers to access present at the Property identified in this

  Complaint are not removed.

         18.     Although Plaintiff may not have personally encountered each and every barrier to

  access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

  to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

  advocate for the disabled within six months or sooner after the barriers to access are removed, it

  is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

  may encounter a different barrier to access identified in the Complaint in a subsequent visit as,

  for example, one accessible parking space may not be available and she would need to use an

  alternative accessible parking space in the future on her subsequent visit. As such, all barriers to



                                                    4
Case No. 1:24-cv-02866-NYW-NRN             Document 1           filed 10/16/24   USDC Colorado            pg
                                              5 of 15




  access identified in the Complaint must be removed in order to ensure Plaintiff will not be

  exposed to barriers to access and legally protected injury.

         19.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

  in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

  Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

  Congress and is historically viewed by Federal Courts as an injury in fact.

                                       COUNT I
                           VIOLATIONS OF THE ADA AND ADAAG

         20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

  U.S.C. § 12101 et seq.

         21.     Congress found, among other things, that:

         (i)     some 43,000,000 Americans have one or more physical or mental
                 disabilities, and this number is increasing as the population as a whole is
                 growing older;

         (ii)    historically, society has tended to isolate and segregate individuals with
                 disabilities, and, despite some improvements, such forms of discrimination
                 against individuals with disabilities continue to be a serious and pervasive
                 social problem;

         (iii)   discrimination against individuals with disabilities persists in such critical
                 areas as employment, housing public accommodations, education,
                 transportation, communication, recreation, institutionalization, health
                 services, voting, and access to public services;

         (iv)    individuals with disabilities continually encounter various forms of
                 discrimination, including outright intentional exclusion, the discriminatory
                 effects of architectural, transportation, and communication barriers,
                 overprotective rules and policies, failure to make modifications to existing
                 facilities and practices, exclusionary qualification standards and criteria,
                 segregation, and relegation to lesser service, programs, activities, benefits,
                 jobs, or other opportunities; and

         (v)     the continuing existence of unfair and unnecessary discrimination and
                 prejudice denies people with disabilities the opportunity to compete on an
                 equal basis and to pursue those opportunities for which our free society is


                                                   5
Case No. 1:24-cv-02866-NYW-NRN             Document 1      filed 10/16/24     USDC Colorado          pg
                                              6 of 15




                 justifiably famous, and costs the United States billions of dollars in
                 unnecessary expenses resulting from dependency and non-productivity.

  42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

         22.     Congress explicitly stated that the purpose of the ADA was to:

         (i)     provide a clear and comprehensive national mandate for the elimination of
                 discrimination against individuals with disabilities;

         (ii)    provide a clear, strong, consistent, enforceable standards addressing
                 discrimination against individuals with disabilities; and

                 *****

         (iv)    invoke the sweep of congressional authority, including the power to
                 enforce the fourteenth amendment and to regulate commerce, in order to
                 address the major areas of discrimination faced day-to-day by people with
                 disabilities.

  42 U.S.C. § 12101(b)(1)(2) and (4).

         23.      The congressional legislation provided places of public accommodation one and

  a half years from the enactment of the ADA to implement its requirements.

         24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

  1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

  § 12181; 28 C.F.R. § 36.508(a).

         25.     The Property is a public accommodation and service establishment.

         26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

  Department of Justice and Office of Attorney General promulgated federal regulations to

  implement the requirements of the ADA. 28 C.F.R. Part 36.

         27.     Public accommodations were required to conform to these regulations by January

  26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

  $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).



                                                  6
Case No. 1:24-cv-02866-NYW-NRN                Document 1    filed 10/16/24     USDC Colorado           pg
                                                 7 of 15




         28.     The Property must be, but is not, in compliance with the ADA and ADAAG.

         29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

  her capacity as a customer at the Property and as an independent advocate for the disabled, but

  could not fully do so because of her disabilities resulting from the physical barriers to access,

  dangerous conditions and ADA violations that exist at the Property that preclude and/or limit her

  access to the Property and/or the goods, services, facilities, privileges, advantages and/or

  accommodations offered therein, including those barriers, conditions and ADA violations more

  specifically set forth in this Complaint.

         30.     Plaintiff intends to visit the Property again as a customer and as an independent

  advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

  advantages and/or accommodations commonly offered at the Property, but will be unable to fully

  do so because of her disability and the physical barriers to access, dangerous conditions and

  ADA violations that exist at the Property that preclude and/or limit her access to the Property

  and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

  therein, including those barriers, conditions and ADA violations more specifically set forth in

  this Complaint.

         31.     Defendant, MONOGHAN FARMS, INC., has discriminated against Plaintiff (and

  others with disabilities) by denying her access to, and full and equal enjoyment of the goods,

  services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

  by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

  12182(b)(2)(A)(iv).

         32.     Defendant, MONOGHAN FARMS, INC., will continue to discriminate against

  Plaintiff and others with disabilities unless and until Defendant, MONOGHAN FARMS, INC., is



                                                   7
Case No. 1:24-cv-02866-NYW-NRN                   Document 1    filed 10/16/24     USDC Colorado             pg
                                                    8 of 15




  compelled to remove all physical barriers that exist at the Property, including those specifically

  set forth herein, and make the Property accessible to and usable by Plaintiff and other persons

  with disabilities.

          33.       A specific list of unlawful physical barriers, dangerous conditions and ADA

  violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

  access to the Property and the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages and accommodations of the Property include, but are not limited to:

  ACCESSIBLE ELEMENTS:

                  i.   Adjacent to Nothing Bundt Cakes, the accessible parking space has a running

                       slope in excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG

                       standards and is not level. This barrier to access would make it dangerous and

                       difficult for Plaintiff to exit and enter their vehicle while parked at the

                       Property as Plaintiff’s wheelchair may roll down the slope while entering or

                       exiting the vehicle.

                ii.    Adjacent to Nothing Bundt Cakes, the accessible parking space has a cross

                       slope in excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG

                       standards and is not level. This barrier to access would make it dangerous and

                       difficult for Plaintiff to enter and exit the vehicle as a level surface is needed

                       so the wheelchair does not tip over and injure Plaintiff as excessive cross-

                       slopes increase the likelihood of Plaintiff’s wheelchair tipping over on its side

                       and injuring Plaintiff.

                iii.   Adjacent to Nothing Bundt Cakes, the access aisle to the accessible parking

                       space is not level due to the presence of an accessible ramp in the access aisle



                                                      8
Case No. 1:24-cv-02866-NYW-NRN          Document 1       filed 10/16/24     USDC Colorado             pg
                                           9 of 15




                 in violation of Section 502.4 of the 2010 ADAAG standards. This barrier to

                 access would make it dangerous and difficult for Plaintiff to exit and enter

                 their vehicle while parked at the Property as the lift from the van may rest

                 upon the ramp and create an unlevel surface.

           iv.   Adjacent to Nothing Bundt Cakes, the accessible curb ramp is improperly

                 protruding into the access aisle of the accessible parking space in violation of

                 Section 406.5 of the 2010 ADAAG Standards. This barrier to access would

                 make it dangerous and difficult for Plaintiff to exit and enter their vehicle

                 while parked at the Property as the lift from the van may rest upon the ramp

                 and create an unlevel surface.

           v.    Adjacent to Nothing Bundt Cakes, the Property has an accessible ramp that

                 lacks finished edges or edge protection and/or is otherwise in violation of

                 Section 405.9 of the 2010 ADAAG standards. This barrier to access would

                 expose Plaintiff to increased risk of injury for if the wheelchair should fall of

                 the side edge of the ramp, the lack of edge protection would likely cause

                 Plaintiff to tip and incur injury.

           vi.   Adjacent to Nothing Bundt Cakes, the bottom edge of the sign identifying the

                 accessible parking space is at a height below 60 inches from the floor in

                 violation of Section 502.6 of the 2010 ADAAG standards. This barrier to

                 access would make it difficult for Plaintiff to locate an accessible parking

                 space.

          vii.   Due to a policy of not having parking stops for the parking spaces directly in

                 front of the exterior access route, cars routinely pull up all the way to the curb



                                                9
Case No. 1:24-cv-02866-NYW-NRN          Document 1        filed 10/16/24     USDC Colorado             pg
                                          10 of 15




                  and the "nose" of the vehicle extends into the access route causing the exterior

                  access route to routinely have clear widths below the minimum thirty-six

                  (36") inch requirement specified by Section 403.5.1 of the 2010 ADAAG

                  Standards. This barrier to access would make it dangerous and difficult for

                  Plaintiff to access exterior public features of the Property as there is not

                  enough clear width for Plaintiff’s wheelchair.

          viii.   Due to a policy of not having parking stops for the parking spaces directly in

                  front of the exterior access route, cars routinely pull up all the way to the curb

                  and the "nose" of the vehicle extends into the access route as a result, in

                  violation of Section 502.7 of the 2010 ADAAG Standards, parking spaces are

                  not properly designed so that parked cars and vans cannot obstruct the

                  required clear width of adjacent accessible routes. This barrier to access would

                  make it dangerous and difficult for Plaintiff to access exterior public features

                  of the Property as there is not enough clear width for Plaintiff’s wheelchair.

           ix.    Due to barriers to access identified in (vii) and (viii) above, the Property lacks

                  an accessible route connecting accessible facilities, accessible elements and/or

                  accessible spaces of the Property in violation of Section 206.2.2 of the 2010

                  ADAAG standards. This barrier to access would make it difficult for Plaintiff

                  to access public features of the Property.

            x.    Due to barriers to access identified in (vii) and (viii) above, the accessible

                  parking space adjacent to Nothing Bundt Cakes lacks an accessible route

                  leading from the accessible parking space to the entrances of the Property in

                  violation of Section 208.3.1 of the 2010 ADAAG standards. This barrier to



                                               10
Case No. 1:24-cv-02866-NYW-NRN           Document 1        filed 10/16/24     USDC Colorado            pg
                                           11 of 15




                  access would make it difficult and dangerous for Plaintiff to access the units

                  of the Property from this accessible parking space.

           xi.    In front of Unit 100, due to the presence of a ramp, the walking surfaces of the

                  accessible route have a cross slope in excess of 1:48, in violation of Section

                  403.3 of the 2010 ADAAG standards. This barrier to access would make it

                  dangerous and difficult for Plaintiff to access the units of the Property because

                  excessive cross-slope along accessible routes increases the likelihood of

                  Plaintiff’s wheelchair tipping over on its side and injuring Plaintiff.

          xii.    In front of Unit 100, due to the presence of a ramp, the maneuvering clearance

                  of this accessible entrance is not level (surface slope in excess of 1:48) in

                  violation of Section 404.2.4.4 of the 2010 ADAAG standards. This barrier to

                  access would make it difficult for Plaintiff to access this unit of the Property

                  since it is often necessary for individuals in wheelchairs to need to use their

                  hands to both wheel through the doorway and keep the door open with another

                  hand. When the maneuvering clearance is not level, this ordinarily difficult

                  process is made even more difficult by the inappropriately higher slope.

          xiii.   As a result of the barrier to access identified in xii) above, not all entrance

                  doors and doorways comply with Section 404 of the 2010 ADAAG standards,

                  this is a violation of Section 206.4 of the 2010 ADAAG standards. This

                  barrier to access would make it difficult for Plaintiff to access the units of the

                  Property.

          xiv.    Adjacent to Unit 100, the accessible parking space and associated access aisle

                  have an opening running the length of the entire accessible parking space and



                                                11
Case No. 1:24-cv-02866-NYW-NRN                  Document 1         filed 10/16/24       USDC Colorado         pg
                                                  12 of 15




                         access aisle with a width of approximately an inch in violation of Sections

                         302.3 and 502.4 of the 2010 ADAAG standards. This barrier to access could

                         cause the wheel of Plaintiff’s wheelchair to get lodged in the opening causing

                         difficulty and risk having the wheelchair tip over in a struggle to get removed

                         from the gap.

               xv.       Adjacent to Unit 100, the accessible parking space and associated access aisle

                         have an opening running the length of the entire accessible parking space and

                         access aisle with a width of approximately an inch. As a result, the ground

                         surfaces of the accessible space have vertical rises in excess of ¼ (one quarter)

                         inch in height, are not stable or slip resistant, have broken or unstable surfaces

                         or otherwise fail to comply with Sections 502.4, 302 and 303 of the 2010

                         ADAAG standards. This barrier to access would make it dangerous and

                         difficult for Plaintiff to access the units of the Property.

               xvi.      Due to barriers to access identified in (vii) and (viii) above, the accessible

                         parking space adjacent to Unit 100 lacks an accessible route leading from the

                         accessible parking space to the entrances of the Property in violation of

                         Section 208.3.1 of the 2010 ADAAG standards. This barrier to access would

                         make it difficult and dangerous for Plaintiff to access the units of the Property

                         from this accessible parking space.

            xvii.        Defendant fails to adhere to a policy, practice and procedure to ensure that all

                         facilities are readily accessible to and usable by disabled individuals.

         34.          The violations enumerated above may not be a complete list of the barriers,

  conditions or violations encountered by Plaintiff and/or which exist at the Property.



                                                        12
Case No. 1:24-cv-02866-NYW-NRN              Document 1       filed 10/16/24    USDC Colorado           pg
                                              13 of 15




         35.       Plaintiff requires an inspection of the Property in order to determine all of the

  discriminatory conditions present at the Property in violation of the ADA.

         36.       The removal of the physical barriers, dangerous conditions and ADA violations

  alleged herein is readily achievable and can be accomplished and carried out without significant

  difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

         37.       All of the violations alleged herein are readily achievable to modify to bring the

  Property into compliance with the ADA.

         38.       Upon information and good faith belief, the removal of the physical barriers and

  dangerous conditions present at the Property is readily achievable because the nature and cost of

  the modifications are relatively low.

         39.       Upon information and good faith belief, the removal of the physical barriers and

  dangerous conditions present at the Property is readily achievable because Defendant,

  MONOGHAN FARMS, INC., has the financial resources to make the necessary.

         40.       Upon information and good faith belief, the removal of the physical barriers and

  dangerous conditions present at the Property is readily achievable because Defendant,

  MONOGHAN FARMS, INC., has the financial resources to make the necessary modifications.

  According to the Property Appraiser, the Appraised value of the Property is $946,815.00.

         41.       The removal of the physical barriers and dangerous conditions present at the

  Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

  and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

  modifications.

         42.       Upon information and good faith belief, the Property has been altered since 2010.




                                                   13
Case No. 1:24-cv-02866-NYW-NRN              Document 1        filed 10/16/24    USDC Colorado             pg
                                              14 of 15




           43.   In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

  standards apply, and all of the alleged violations set forth herein can be modified to comply with

  the 1991 ADAAG standards.

           44.   Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

  reasonably anticipates that she will continue to suffer irreparable harm unless and until

  Defendant, MONOGHAN FARMS, INC., is required to remove the physical barriers, dangerous

  conditions and ADA violations that exist at the Property, including those alleged herein.

           45.   Plaintiff’s requested relief serves the public interest.

           46.   The benefit to Plaintiff and the public of the relief outweighs any resulting

  detriment to Defendant, MONOGHAN FARMS, INC.

           47.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

  litigation from Defendant, MONOGHAN FARMS, INC., pursuant to 42 U.S.C. §§ 12188 and

  12205.

           48.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

  injunctive relief to Plaintiff, including the issuance of an Order directing Defendant,

  MONOGHAN FARMS, INC., to modify the Property to the extent required by the ADA.

           WHEREFORE, Plaintiff prays as follows:

           (a)   That the Court find Defendant MONOGHAN FARMS, INC., in violation of the

                 ADA and ADAAG;

           (b)   That the Court issue a permanent injunction enjoining Defendant, MONOGHAN

                 FARMS, INC., from continuing their discriminatory practices;

           (c)   That the Court issue an Order requiring Defendant, MONOGHAN FARMS, INC.,

                 to (i) remove the physical barriers to access and (ii) alter the subject Property to



                                                   14
Case No. 1:24-cv-02866-NYW-NRN          Document 1       filed 10/16/24     USDC Colorado         pg
                                          15 of 15




              make it readily accessible to and useable by individuals with disabilities to the

              extent required by the ADA;

       (d)    That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses

              and costs; and

       (e)    That the Court grant such further relief as deemed just and equitable in light of the

              circumstances.

       Dated: October 16, 2024.

                                            Respectfully submitted,

                                            Law Offices of
                                            THE SCHAPIRO LAW GROUP, P.L.

                                            /s/ Douglas S. Schapiro
                                            Douglas S. Schapiro, Esq.
                                            State Bar No. 54538FL
                                            The Schapiro Law Group, P.L.
                                            7301-A W. Palmetto Park Rd., #100A
                                            Boca Raton, FL 33433
                                            Tel: (561) 807-7388
                                            Email: schapiro@schapirolawgroup.com


                                            ATTORNEYS FOR PLAINTIFF




                                               15
